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                 EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
        v.                                       *    CRIMINAL NO. PX-19-181
                                                 *
 RONDELL HENRY,                                  *
                                                 *
                 Defendant                       *
                                                 *
                                              *******

                                       PROPOSED ORDER

       Upon consideration of the Defendant’s Motion for a Competency Evaluation and Hearing,

this Court finds that there is reasonable cause to believe that the Defendant may presently be

suffering from a mental disease or defect rendering him mentally incompetent to the extent that he

is unable to understand the nature and consequences of the proceedings against him or to assist

properly in his defense. See 18 U.S.C. § 4241(a). Thus, on this ____ day of __________________,

2019, by the United States District Court for the District of Maryland, pursuant to 18 U.S.C.

§ 4241(a) and (b) and § 4247(b) and (c), it is hereby ORDERED that:

             1. The Defendant’s Motion is GRANTED;

             2. Pursuant to 18 U.S.C. § 4247(b), the Court having concluded that a custodial

                examination is necessary, the Defendant shall be committed to the custody of the

                Attorney General for placement in a suitable facility for a reasonable period of time

                not to exceed 30 days for purposes of the examination pursuant to 18 U.S.C.

                § 4241(a), except that, upon a showing of good cause that additional time is necessary

                to observe and evaluate the Defendant, the director of the facility may apply for a

                reasonable extension not to exceed 15 days under 18 U.S.C. § 4241;

             3. Pursuant to 18 U.S.C. §§ 4241(b) and 4247(b), a psychiatric or psychological
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      examination of the Defendant shall be conducted by the first available licensed or

      certified psychiatrist or psychologist qualified to conduct such an examination;

   4. Pursuant to 18 U.S.C. §§ 4241(b) and 4247(b), a psychiatric or psychological report

      shall be filed with the Court under seal, with copies provided to defense counsel and

      the Government, which report shall comply with the requirements set forth in 18

      U.S.C. § 4247(c) and shall include: (1) the Defendant’s history and present

      symptoms; (2) a description of the psychiatric, psychological, and medical tests that

      were employed and their results; (3) the examiner’s findings; and (4) the examiner’s

      opinion as to diagnosis, prognosis, and whether the Defendant is suffering from a

      mental disease or defect, rendering him mentally incompetent to the extent that he is

      unable to understand the nature and consequences of the proceedings against him or

      to properly assist in his defense;

   5. Upon the completion of the psychiatric or psychological evaluation ordered herein,

      and within 10 days of the filing and receipt by the parties of the report of examination,

      a follow-up status conference will be conducted by this Court; and

   6. A copy of this order is to be provided to the United States Marshal’s Service. It is

      requested that arrangements for transfer of the defendant for a competency

      examination be done forthwith.




_______________________
Date                                 Hon. Paula Xinis
                                     United States District Judge




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